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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:09CR104
                                              )
              v.                              )
                                              )
PEDRO ROMERO,                                 )         MEMORANDUM AND ORDER
                                              )
                     Defendant.               )
                                              )


       This matter is before the court on Defendant Pedro Romero’s objection, Filing No.

62, to the report and recommendation (R&R) of the magistrate judge, Filing No. 56. The

magistrate judge recommended denial of Romero’s motion to suppress, Filing No. 24.

Romero is charged with violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1), possession with

intent to distribute more than 500 grams of a mixture or substance containing a detectable

amount of methamphetamine, Filing. No. 1, Indictment.

       Under 28 U.S.C. § 636(b)(1), the court m akes a de novo determination of those

portions of the report and recommendation to which the parties object. United States v.

Lothridge, 324 F.3d 599, 600-01 (8th Cir. 2003). The court has conducted a de novo review

of the record, including the transcript of the hearing which includes the findings and

conclusions of the magistrate judge (Filing Nos. 56 and 59), Exhibits 1 and 3 (Filing No. 54),

and the relevant law. The court agrees with the magistrate judge’s recitation of the facts

and application of the law and will only briefly summarize them in this memorandum and

order. The court overrules Romero’s objection to the R&R, denies his motion to suppress




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the evidence, and adopts the report and recommendation of the magistrate judge in its

entirety.

                                          FACTS

       Shortly after 10 a.m. on February 2, 2009, Deputy Dave W intle of the Douglas

County Sheriff’s Department performed a traffic stop on a white GMC Yukon, proceeding

east on Interstate 80, in which Romero was a passenger. The deputy initially pulled over

the vehicle, and eventually issued a written warning to the driver, Jorge Uriel-Esquivel, for

following too closely in violation of Neb. Rev. Stat. § 60-6, 140(1). Neither Romero nor

Uriel-Esquivel speak English as their primary language. Both men speak and understand

Spanish.

       The officer issued a written warning to Uriel-Esquivel. Deputy W intle asked Romero

for consent to search the vehicle. Romero denied the request. Deputy W intle then asked

Uriel-Esquivel for consent to search the vehicle. Uriel-Esquivel consented to the search and

signed a consent to search form written in the Spanish language. After another officer

arrived at the scene, the officers asked Romero to step out of the vehicle, he complied, and

Deputy W intle proceeded with the search.

       Deputy W intle, a canine officer, performed a walk around the vehicle with his dog.

After circling the vehicle, the dog alerted to the presence of contraband at the rear of the

vehicle. Deputy W intle performed a search of the vehicle and initially found no drugs or

weapons. Deputy W intle then laid on his back and slid underneath the vehicle to get a look

at the undercarriage. W hile underneath the vehicle, Deputy W intle noticed fresh scratch

marks on the bolts and clamps holding the gas tank in place. This indicated to Deputy

W intle that the gas tank had been recently removed and replaced.

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       Officers towed the vehicle to the Douglas County Garage, placed it on a lift, and

removed the gas tank. Inside the gas tank deputies found approximately six pounds of

methamphetamine.

                                        DISCUSSION

       Romero challenged the admissibility of the evidence on several grounds. Romero

claims that the initiation of the traffic stop was undertaken without reasonable suspicion or

probable cause and that after Deputy W intle issued the warning, he had no additional

reasonable suspicion to extend the stop for a search. Romero further contends that no valid

consent was given for the search because there were communication barriers between the

Spanish-speaking occupants of the vehicle and the English-speaking deputy. Romero relies

on Illinois v. Caballes claiming that the duration of the traffic stop was unreasonably

extended when Deputy W intle performed the canine search. 543 U.S. 405 (2005).

       In response, the government argues that the stop was undertaken with valid probable

cause because Deputy W intle determined that the driver of the vehicle was following

another vehicle too closely, in violation of Neb. Rev. Stat. § 60-6, 140(1). In claiming that

the search at issue was legal, the government relies on United States v. Flores, 474 F.3d

1100 (8th Cir. 2007). The government argues that since the officer asked for and received

valid consent, the search of the vehicle was legal and the evidence discovered as a result

of the search is admissible.

       The magistrate judge recommended that Romero’s motion to suppress be denied.

The magistrate judge determined that Deputy W intle had a reasonable basis for believing

that the driver was in violation of a traffic law and, therefore, was well within his rights to




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stop the vehicle. The magistrate judge further found that the consent to search, given by

the driver, was valid and therefore evidence obtained pursuant to that search is admissible.

       This court agrees. Any traffic infraction, regardless of perceived severity, gives an

officer probable cause to stop a driver. United States v. $404,905.00 in U.S. Currency, 182

F.3d 643, 646 (8th Cir. 1999). After making a traffic stop, an officer may detain the

occupants while undertaking a number of routine tasks related to a traffic violation. Id. at

647. Such tasks include checking vehicle registration, driver’s license and criminal history,

and writing a citation or warning. Id.

       The initial traffic stop was undertaken with probable cause.        The infraction of

following too closely violates Neb. Rev. Stat. § 60-6, 140(1). Therefore, pursuant to United

States v. $404,905.00 in U.S. Currency, Deputy W intle had valid probable cause to stop the

vehicle. Moreover, Deputy W intle was permitted to detain Romero after the stop in order

to check the registration of the vehicle and the driver’s identification, and to issue the

warning.

       To determine if consent for a search was validly given, the court must look at the

totality of the circumstances. United States v. Bradley, 234 F.3d 363, 366 (8th Cir. 2000).

W hen looking at the totality of the circumstances, the court should consider the defendant’s

age, intelligence and education, whether he was under the influence of drugs or alcohol,

whether he was informed of his right to withhold consent, and whether he was aware of the

rights afforded criminal suspects. Id. Consideration of these factors is to serve as a

valuable guide, but should not be applied mechanically to determine the voluntariness of

consent. Id.




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       The driver of the vehicle, co-defendant Uriel-Esquivel, signed a valid consent to

search form making the issue of probable cause to search irrelevant. This court has

reviewed the factual findings of the magistrate judge, as well as the in-dash video recording

from Deputy W intle’s cruiser, Exhibit 3, Filing No. 54. W hen considering the totality of the

circumstances surrounding the consent to search, it is evident that consent was validly

given. Though Deputy W intle’s primary language is English and Uriel-Esquivel’s primary

language is Spanish, the video from the Deputy’s cruiser shows that the two men were able

to communicate in simple terms. The consent to search form that Uriel-Esquivel signed,

Exhibit 1, Filing No. 54, was written in Spanish and Deputy W intle asked if Uriel-Esquivel

understood the form after he finished reading it. This court believes that Uriel-Esquivel had

sufficient capacity to understand and that he knowingly consented to the search of the

vehicle. As a result, this court agrees with the magistrate judge that the consent to search

the vehicle was voluntarily given, and the resulting discovery of the methamphetamine is

admissible.




       THEREFORE, IT IS ORDERED:

       1.     Defendant’s motion to suppress evidence, Filing No. 24 is denied;

       2.     Defendant’s objections, Filing No. 62 are overruled; and

       3.     The report and recommendation of the magistrate judge, Filing No. 56, is

              adopted in its entirety.




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       DATED this 1 st day of February, 2010.

                                            BY THE COURT:

                                            s/ Joseph F. Bataillon
                                     Chief United States District Judge




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